  Case 3:13-cr-00155-PAD       Document 175     Filed 09/24/13   Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0155CCC
 1) LUIS DIAZ-NATAL, a/k/a “Chencho”
 2) JESUS ACOSTA-MILLET, a/k/a “Lalo”
 3) JUAN PEREZ-MORALES, a/k/a “Charry,”
 “Joker”
 4) JORGE SANCHEZ-PEREZ, a/k/a “Joey”
 5) WILFRIDO COLON-RIVERA,
 a/k/a “Bimbo”, “Balu”
 6) ISMAEL LOPEZ-RIVERA, a/k/a “Machito”
 7) BIENVENIDO CLAS-OTERO,
 a/k/a “Biembe”
 8) ARMANDO JIMENEZ-RAMOS,
 a/k/a “Chory”
 9) ELIUD SERRANO-BARRIOS, a/k/a “Pipo,”
 “Pito”
 10) RAUL MENDEZ-ROMAN, a/k/a “Papelin”
 11) OMAR GONZALEZ-SOTOMAYOR
 12) CHRISTIAN GONZALEZ-SOTOMAYOR,
 a/k/a “Bombi”
 13) ALEXANDER RODRIGUEZ-RENTAS
 14) LUIS MIGUEL CRUZ-DAVILA
 15) ALEXANDER VELEZ-RODRIGUEZ
 16) VICTOR ORTIZ-SANTOS,
 a/k/a “Manuel,” “Crock”
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on August 29, 2013
(docket entry 170) on a Rule 11 proceeding of defendant [16] Víctor Ortiz-Santos before
U.S. Magistrate Judge Bruce J. McGiverin on August 27, 2013, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
  Case 3:13-cr-00155-PAD      Document 175      Filed 09/24/13    Page 2 of 2



CRIMINAL 13-0155CCC                        2

      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 27, 2013.       The sentencing hearing is set for
December 3, 2013 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on September 24, 2013.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
